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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


SUANNE PETERSON,                                   Case No. 4:13-cv-295

       Plaintiff,
v.
                                                   STIPULATION FOR DISMISSAL
CARE INITIATIVES, SUSAN O’BRIEN,                   WITH PREJUDICE
and KARMA GREEN.,

       Defendants.

       WHEREAS all matters in controversy have been settled by and between the Plaintiff and

Defendants, the parties hereby stipulate to dismiss all claims in the Complaint and any

amendments thereto filed in the above-captioned lawsuit with prejudice pursuant to Local Rule

41(a)(2).

BELIN McMCORMICK, P.C.                                       FIEDLER & TIMMER, P.L.L.C.

/s/ Kelsey Knowles____                                       /s/ Emily McCarty_________
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ATTORNEYS FOR DEFENDANTS                                     ATTORNEYS FOR PLAINTIFF


        ELECTRONIC PROOF OF SERVICE
 I, hereby certify that on the 23nd day of July,
 2013, I electronically filed the foregoing
 document with the Clerk of Court using the
 CM/ECF system which sent notification of said
 filing to all CM/ECF participants.

 Signature: ___/s/ Fiedler & Timmer_________
